Case 4:24-cv-00698-SDJ-BD           Document 81 Filed 07/14/25            Page 1 of 6 PageID #:
                                           1229



                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

IN THE MATTER OF:                               §
                                                §       Civil Action No. 4:24-cv-00698-SDJ-BD
DILIP JANA                                      §
      Plaintiff,                                §
v.
                                                §
                                                §
                                                §
                                                                            FILED
WALMART, INC.,                                  §                              JUL 1 k 2025
      Defenda t.                                §
                                                                      CLERK, U.S. DISTRICT COURT
                                                                             TEXAS EASTERN

     PLAINTIFF S OBJECTION TO MAGISTRATE JUDGE S STRIKING OF DKT. 75 AND
MOTION TO REINSTATE DKT. 75 FOR DISTRICT JUDGE REVIEW UNDER RULE 72(a)


TO THE HONORABLE DISTRICT JUDGE SEAN D. JORDAN:


COMES NOW Plaintiff, appearing pro se, and respectfully submits this objection under Rule 72(a) to

the Magistrate Judge s July 11. 2025 Order (Dkt. 79) striking Plaintiff s Motion to Compel pursuant

to Federal Rule of Civil Procedure ( Rule ) 33, Interrogatory Responses and Request for In Camera

Review (Dkt. 75). Plaintiff moves for the reinstatement and adjudication of Dkt. 75, and for a finding

that the Magistrate Judge s ruling was clearly erroneous, contrary to law, appearance of impropriety

and imposed unlawful procedural burdens on a pro se litigant. Federal Rule of Civil Procedure 72(a)

authorizes the District Judge to review any portion of a Magistrate Judge’s nondispositive ruling that

is clearly erroneous or is contrary to law. The Eastern District’s Local Rules do not require a

certificate of conference from pro se litigants (EXHIBIT A-l), and striking a motion for lacking one




Plaintiff’s Objection to Dkt 79 And Motion to Reinstate Dkt 75                      Page 1 of 6
Jana v. Walmart, Inc.
Case 4:24-cv-00698-SDJ-BD            Document 81 Filed 07/14/25            Page 2 of 6 PageID #:
                                            1230


directly contradicts Local Rule CV-7(i), Fifth Circuit authority, and Rule 26(g). The Court stated in

its Order (Dkt 79),


        'Jana asserts that he co ferred with Defendant Walmart, Inc, by se di g its co nsel two
       emails. But Local Rule CV-7(h) requires person l conference, by telepho e or in person,
       to discuss discovery disputes, so his emails ere insuf icient. Further, Jana did not contact
       chambers to schedule a teleconference, so he also failed to satisfy the second prerequisite

While Plaintiff made good faith effort (Dkt 72, EXHIBIT A-2) Request for Amended Written

Interrogatories Response and warned Walmart

        Plaintiff intends to file "Motion to Compel and In Camera Review" after Thursday, May 8,
       2025 without further notice in the event Plaintiff does not receive complete responses.

and made another effort on July 8, 2025 (Dkt 75, EXHIBIT A-l). Motion to Compel (Dkt 75) was

related to Plaintiff s Rule 33 Interrogatory No. 1-4; no document production was needed. Plaintiff

asked a simple YES/NO answer through Interrogatory No 2 whether EXHIBIT 1 (Dkt 13), the reason

for the termination was altered. (Dkt 75, EXHIBIT A-l). The answer was due on April 28, 2025,

however, Walmart declined to answer simple YES/NO despite acknowledging at OALJ and this Court

that it was not altered. Ans er to Interrogatory 2 is centr l to Plaintiff’s whistleblower retaliation

claim under SOX and CAARA.


Retaliatory Timin Shows Appearance of Impropriety and Shielding Walm rt. On July 11,

2025, at 4:36 PM, Plaintiff filed Dkt. 77, a formal Rule 72(a) Objection to the Magistrate Judge s

Order granting Walmart’s Second Motion for Protective Order (Dkt. 66). Plaintiff’s objection raised

detailed allegations of procedural misconduct and factual misrepresentation by Walmart, as

previously outlined in Plaintiff’s Objection (Dkt. 77). Exactly 23 minutes later, at 4:59 PM, the

Magistrate Judge struck Plaintiff’s Motion to Compel (Dkt. 75) which was filed just 24 hours ago,

without notice, hearing, or any acknowledgment of its contents or merits. Instead, the Court moved



Plaintiff s Objection to Dkt 79 And Motion to Reinstate Dkt 75 Page 2 of 6
Jana v. Walmart, Inc.
Case 4:24-cv-00698-SDJ-BD            Document 81 Filed 07/14/25            Page 3 of 6 PageID #:
                                            1231


immediately to strike a properly filed motion raising fraud, privilege abuse, and Rule 26(g) violations,

thereby shielding Walmart from substantive judicial review. Moreover, just one day prior, on July 10,

2025, Walmart filed a Notice (Dkt. 76) attempting to preemptively frame Plaintiff s Motion to

Compel as a premature and procedurally improper demand for a privilege log and umedacted

documents:



       Walmart respectfully submits that such a motion is premature and procedurally
      improper at this stage. (Dkt. 76, Page 1, PagelD 1193)

The Court adopted this framing and struck Plaintiff s Motion to Compel (Dkt 75) as premature.

However, the record shows that Plaintiff’s motion was neither premature nor improper - (i) Dkt. 75

had been on file since July 10, 2025, at 2:45 PM over 24 hours before it was struck, (ii) Plaintiff

contemporaneously filed a Notice of Withdrawal of all Rule 34 Requests for Production (Dkt. 78, at

4:37 PM on July 11), thereby eliminating any remaining document disputes, (iii) Dkt. 75 addressed

only Rule 33 Interrogatories 1-4, including straightforward, ripe questions such as identification of

the interrogatory respondent (No. 1) and a yes/no authenticity inquiry regarding documentary

tampering (No. 2); (iv) The Court’s Order ignored Plaintiff’s EXHIBIT A-l, which documented

good-faith conferral efforts, (v) The Court applied Local Rule CV-7(h), even though Local Rule

CV-7(i) explicitly exempts non-prisoner pro se litigants from the personal conference requirement.

(EXHIBIT A-l). Despite this exemption, the Court struck Plaintiff’s Motion to Compel for failure to

comply with CV-7(h), applying a rule that does not govern Plaintiff’s conduct. This is a clear error of

law and deprived Plaintiff of a right to be heard on critical factual disputes implicating document

spoliation, privilege abuse, and possible sanctions under Rule 37. Answer to this Interrogatory

response (1-4) is directly related to Plaintiff’s retaliatory termination under SOX and CAARA and




Plaintiff s Objection to Dkt 79 And Motion to Reinstate Dkt 75                       Page 3 of 6
Jana v. Walmart, Inc.
Case 4:24-cv-00698-SDJ-BD            Document 81 Filed 07/14/25            Page 4 of 6 PageID #:
                                            1232


 MOTION for Criminal Referral and Sanctions (Dkt 72) which under ines integrity of the

judicial system. Instead, the Court struck Plaintiff s Motion without addressing these contradictions,

without recognizing Plaintiff s exemption from CV-7(h) and CV-7(i). In the pleading (Dkt 75)

Plaintiff requested for a Default judgement in the event In Camera Review finds Walmart altered

evidence. The timing and substance of the Court’s actions thus reflect not only an appearance of

impropriety, but also a pattern of shielding Walmart from critical discovery scrutiny. This prejudiced

Plaintiff’s ability to prove fraud, retaliation, and document tampering core claims in this SOX and

CAARA whistleblower case and denied Plaintiff a meaningful opportunity to be heard, in violation

of Mathews v. Eldridge, 424 U.S. 319, 333 (1976) and Nelson v. Adams, 529 U.S. 460, 467 (2000).


In stark contrast, Walmart’s own Motion for Protective Order (Dkt. 63) was filed on June 3, 2025,

without any meaningful conferral after May 2, 2025, and was supported by an outdated email from

April 2, 2025. Walmart fabricated a narrative that Plaintiff had insisted all discovery documents be

made public a claim Plaintiff rebutted in writing on May 2, 2025, stating unequivocally:


      “Your statement is a misrepresentation of facts and is in bad faith... Before you bring any
      discussion about [a] Protective Order, please respond to my question concisely as you are
      manipulating facts. (Dkt. 62, EXHIBIT I)

Plaintiff further exposed this procedural misconduct in Dkt. 64, 18-24, detailing that (i) Walmart

never followed up after Plaintiff’s May 2 objection, (ii) The April 2 email was outdated and

irrelevant, (iii) Walmart misrepresented Plaintiff’s position to justify a renewed protective order, and

(iv) No Rule 26(c) prerequisites were met. Despite these glaring defects and procedural violations by

Walmart’s attorneys who are unquestionably bound by Local Rule CV-7(h) the Court did not

strike or even question Dkt. 63. Instead, the Magistrate Judge granted Walmart’s motion in full

through Dkt. 66 without a hearing, and without requiring compliance with Rule CV-7(h). Meanwhile,


Plaintiff s Objection to Dkt 79 And Motion to Reinstate Dkt 75                       Page 4 of 6
Jana v. Walmart, Inc.
Case 4:24-cv-00698-SDJ-BD            Document 81 Filed 07/14/25            Page 5 of 6 PageID #:
                                            1233


Plaintiff s narrow, well-supported, and procedurally exempt motion to compel was summarily struck

just 23 minutes after he filed an objection to the Court s ruling on Dkt. 63. The Court did so without

addressing the exemption in CV-7(h), CV-7(i). This is not merely a procedural oversight. It is an

unmistakable case of unequal enforcement of procedural rules (i) Walmart, represented by

seasoned attorneys, violated CV-7(h), fabricated conferral efforts, and proceeded with no

consequence, (ii) Plaintiff, a pro se litigant explicitly exempt from CV-7(h), had his motion struck for

allegedly not satisfying a rule that does not apply to him. The Fifth Circuit has consistently

emphasized that unequal enforcement of procedural rules undermines the fairness of judicial

proceedings and can justify reversal or recusal. See, e.g.. Caperton v. A.T. Massey Coal Co., 556 U.S.


868, 883-84 (2009); Crowe v. Smith, 151 F.3d 217, 236 (Sth Cir. 1998). The selective application of

CV-7(h) in this case harshly against Plaintiff while forgiving Walmart’s actual

noncompliance creates an unmistakable appearance of judicial bias, procedural favoritism, and

denial of due process. It warrants immediate correction by the District Judge under Rule 72(a), and

reconsideration of the Magistrate Judge’s ruling in Dkt. 79.


Prayer: The Court’s July 11, 2025 Order (Dkt. 79) striking Plaintiff’s Motion to Compel (Dkt. 75)

was: (i) Clea ly erroneous in its misapplication of CV-7(h) and failure to recognize CV-7(i), (ii)

Contrary to law in denying Plaintiff a hearing on Rule 33 interrogatories implicating fraud, (iii)

Retaliatory in timing following Plaintiff’s formal objection to Dkt. 66 (iv) Prejudicial in shielding

Walmart from scrutiny and denying Plaintiff a meaningful opportunity to be heard.


Accordingly, Plaintiff respectfully requests that the District Judge (i) VACATE Dkt. 79, (ii)

REINSTATE and adjudicate Dkt. 75 on the merits, (iii) Reaffirm Plaintiff s exemption under

CV-7(i), (iv) Grant any other relief deemed just and proper


Plaintiff s Objection to Dkt 79 And Motion to Reinstate Dkt 75                       Page 5 of 6
Jana v. Walmart, Inc.
Case 4:24-cv-00698-SDJ-BD           Document 81 Filed 07/14/25              Page 6 of 6 PageID #:
                                           1234


Dated: July 14,2025


                                               Respectfully Submitted,




                                                  Pro Se
                                        Telephone : 318-243-9743
                                        Email: jaiKulili /z gm;iil.co
                                        800 Fairlawn St, Allen, TX, 75002




                                  CERTIFICATE OF SERVICE


On July 14, 2025, a true and correct copy of the foregoing was served upon the following through the

Court s CM/ECF system:

Peter S. Wahby                   Morgan E. Jones                 Holmes H. Hampton
Texas Bar No. 24011171         Texas Bar No. 24132301           Texas Bar No. 24144019
Peter.wahby@gtlaw.com           Morgan.jones@gtlaw.com          holmes.hampton@gtlaw.com

GREENBERG TRAURIG LLP
2200 Ross Ave, Suite 5200 Dallas, Texas 75201
Telephone: 214.665.3600
Facsimile: 214.665.3601
ATTO NEYS FOR DEFENDANT WALMART INC.

Dated: July 14, 2025




                                                       Respectfully Submitted




                                                        Dilip Jana, pro se Plaintiff
                                                        Tel: 318-243-9743
                                                         EMail: ianadilip@, mail.com
                                                         800 Fairlawn St, Allen, TX, 75002

Plaintiff s Objection to Dkt 79 And Motion to Reinstate Dkt 75                         Page 6 of 6
Jana v. Walmart, Inc.
